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UNlTED sTATEs DISTRICT COURT q 3 N
FOR THE I)ISTRICT oF CoLUMBlA ;»_[ 'q_ l 1 3
Holding a Criminal Term
Grand Jury Sworn in on November 3, 2016
UNITED sTATES OF AMERICA : CRIMINAL No. 17-CR-00129 (RDF)I L E D
"' § FEB 12 2013
MARIO A. TAYLOR, = vloLATIoN: C'€rk. u.s. msmci a summer
' 18 U.S.C. § 922(g)(1) °°""S formeoismctoicotm
Defendant. : (Unlawful Possession of a Firearm and

Ammunition by a Person Convicted of a
Crime Punishable by Imprisonment for a
Term Exceeding One Year)

FORFEITURE: 18 U.S.C. § 924(d),
21 U.S.C. § 853(p) and 28 U.S.C. § 2461(c)

QG_T,'PM INDICTMENT
The Grand .iury charges that:
COUNT ONE

On or about .|une 1,2017, within the District ot`Columbia, MARJO A. TAYLOR, having

been convicted of a crime punishable by imprisonment for a term exceeding one year, in the

District Court for the District of` Coiumbia, Criminal Case No. 02-CR-462 and in the Superior

Court for the District cf Columbia, Criminal Case No. l993-FEL-3053, did unlawfully and

knowingly receive and possess a iirearm, that is, a Palmetto .223 caliber rifle and did unlawfully

and knowingly receive and possess ammunition, that is, .223 caliber ammunition, which had been

possessed, shipped and transported in and affecting interstate and foreign commerce

(Unlawful Possession ofa Firearm and Ammunition by a Person Convicted ofa Crime
Punishable by Imprisonment for a Term Exceeding One Year, in violation ofTitle l8,
United States Code, Section 922(g)(l))

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FORFEITURE ALLEGATION

l. Upon conviction of the alleged offense in Count One of this Indictment, the
defendant shall forfeit to the United States, pursuant to Title 18, United States Code, Section 924(d)
and Title 28, United States Code, Section 2461(0), any firearms and ammunition involved in or
used in the knowing commission of this offense, including but not limited to, a Palmetto, .223
caliber rifle and .223 caliber ammunition.

2. If any of the property described above as being subject to forfeiture, as a result of
any act or omission of the defendant

(a) cannot be located upon the exercise of due diligence;

(b) has been transferred or sold 'to, or deposited with, a third party;

(c) has been placed beyond the jurisdiction of the Court;

(d) has been substantially diminished in value; or

(e) has been commingled with other property that cannot be divided without difficulty;
the defendant shall forfeit to the United States any other property of the defendant, up to the value
of the property described above, pursuant to 21 U.S.C. § 853(})).

(Criminal Forfeiture, pursuant to Tit|e 18, United States Code, Section 924(d), Title 21,
United States Code, Section 853(p), and Title 28, United Statcs Code, Section 2461(c))

A TRUE BILL:

FOREPERS ON.

Attorney of the United States in
and for the District of Columbia.

